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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


JENNIFER MOORE,                      )
    Plaintiff                        )
                                     )                     CIVIL ACTION
v.                                   )                     NO. 3:19-cv-30007-MGM
                                     )
BRITISH AIRWAYS PLC,                 )
a Foreign Corporation                )
      Defendant                      )

                                    NOTICE OF APPEAL



       Notice is hereby given that Jennifer Moore, the Plaintiff in the above-named matter,

hereby appeals to the United States Court of Appeals For the First Circuit from the

Memorandum and Order Regarding Defendant’s Motion for Summary Judgment and Plaintiff’s

Cross-Motion for Partial Summary Judgment and Judgment in a Civil Case entered in this action

on December 28, 2020.


Dated: January 12, 2021                                    Respectfully submitted,




                                                           ______________________________
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                                     Certificate of Service

       I, Kevin Chrisanthopoulos, Esq., certify that I have caused a copy of this Notice of
Appeal to be served electronically and by mailing a copy of the same to All counsel of Record,
on January 12, 2021.
Date: January 12, 2021                      Signed under the pains and penalties of perjury.




                                            __________________________________________
                                            Kevin Chrisanthopoulos, Esq.
